           Case 1:22-cr-10038-IT Document 56-1 Filed 09/16/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA             )
                                     )
      v.                             )               Criminal No. 22-CR-10038-IT
                                     )
ARIEL LEGASSA                        )

                    Supplemental Affidavit of Ariel Legassa in Support of
                         Motion For Order Releasing Seized Assets

       I, Ariel Legassa, on oath, depose and say as follows.

       1.     I remain unable to find employment commensurate with my experience and

capabilities. I had intended to earn income to contribute to the monthly expenses of my

family by driving for Uber, but I do not have sufficient and regular access to a vehicle. I had

intended to drive the Tesla, but the government has seized it. The other vehicles in the

household are needed by my wife and children. I have not been driving for Uber. The sole

income for the payment of my family’s monthly expenses is my wife’s salary.

       2.     We were able to obtain the release of $31,242.82 that NESN had attached in

the companion civil case. That money has largely been spent on my wife’s attorney’s fees,

monthly bills, necessary living expenses, and making up for the shortfall since January in

the family’s ability to meet its monthly expenses.

       SIGNED under the pains and penalties of perjury this 15th day of September, 2022.



                                                            ___________________________
                                                            Ariel Legassa




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Case 1:22-cr-10038-IT Document 56-1 Filed 09/16/22 Page 2 of 2




                                  /s/ E. Peter Parker
                                  E. Peter Parker




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